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9                                UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11                                        OAKLAND DIVISION
12   UNITED STATES OF AMERICA,                    )       Case No. 05-70942 WDB
                                                  )
13           Plaintiff,                           )       ORDER GRANTING STIPULATION
                                                  )       TO WAIVE TIME UNDER SPEEDY
14      v.                                        )       TRIAL CLOCK AND FOR
                                                  )       PRELIMINARY HEARING
15   MICHAEL EDWARD PAYNE,                        )
                                                  )       Date: January 10, 2006
16           Defendant.                           )       Time: 10:00 a.m.
                                                  )       Before the Honorable Wayne D. Brazil
17
18                                               ORDER
19      Pursuant to Fed. R. Crim. P. 5.1(d) and 18 U.S.C. § 3161(h)(8), the parties in this matter filed
20   a Stipulation to Waive Time Under Speedy Trial Clock and For Preliminary Hearing seeking to
21   waive and extend the time for the preliminary hearing and to exclude the time between January
22   10, 2006 and January 27, 2006 from the Speedy Trial Clock. The Stipulation was signed by
23   counsel of record as well as the defendant knowingly and voluntarily waiving his right to a
24   preliminary hearing on January 10, 2005, and extending the preliminary hearing until January 27,
25   2006. The Stipulation also noted that Mr. Payne’s counsel requires additional time to review
26   material. This information will allow Mr. Payne’s counsel to better evaluate the case and assist
27   in preparing a defense. Counsel also acknowledged that an exclusion of time under the Speedy
28
     ORDER GRANTING PRELIMINARY
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1    Trial Clock is appropriate to allow for the effective preparation of defense counsel taking into
2    account the exercise of due diligence. Good cause appearing therefor,
3       IT IS HEREBY ORDERED that the period of time between January 10, 2006 and January
4    27, 2006 is excluded from the Speedy Trial Clock to allow counsel to effectively prepare, taking
5    into account the exercise of due diligence. 18 U.S.C. § 3161(h)(8)(B)(iv). The Court finds that
6    the “ends of justice served by the granting of such continuance outweigh[s] the best interests of
7    the public and the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(8)(A). Additionally, the
8    Court finds that the Defendant, Mr. Payne, knowingly and voluntarily waived the period between
9    January 10, 2006 and January 27, 2006, such that preliminary hearing is now scheduled for
10   January 27, 2006 at 10:00 a.m.
11   DATED: January 5, 2006
12
                                           ___________________________
13                                         WAYNE D. BRAZIL
                                           United States Magistrate Judge
14
15   Distribute to:
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